Tyler C. Smith
LAIRD COWLEY, PLLC
2315 McDonald Avenue, Suite 220
Missoula, MT 59801
P.O. Box 4066
Missoula, MT 59806-4066
Telephone: (406) 541-7400
Facsimile: (406) 541-7414
Email:      tsmith@lairdcowley.com
Attorneys for MO Somers LLC and Ruis Glacier, LLC




                     UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MONTANA

In re:                                       Case No. 22-90119-JMM
THORCO, INC.,                                Chapter 11
         Debtor.
THORCO, INC., a Montana corporation,         Adversary No. 22-09003-JMM
               Plaintiff,
                                             DEFENDANTS MO SOMERS LLC
         vs.                                 AND RUIS GLACIER, LLC’S
                                             UNOPPOSED MOTION FOR LEAVE
WHITEFISH CREDIT UNION, a
                                             TO FILE REPLY BRIEF
federally-insured Montana-chartered
credit union; MO SOMERS, LLC, a
Montana limited liability company;
RUIS GLACIER, LLC, a Montana
limited liability company; NEAL
BOUMA, an individual; and DOES 1-10,
                      Defendants.

         COME NOW, Defendants MO Somers LLC and Ruis Glacier, LLC and

respectfully move the court for leave to file a reply brief (“Reply Brief”) in

 DEFENDANTS MO SOMERS LLC AND RUIS GLACIER, LLC’S UNOPPOSED MOTION               PAGE 1.
 FOR LEAVE TO FILE REPLY BRIEF

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connection with the Motion to Dismiss the Adversary Complaint. Counsel for

Debtor/Plaintiff Thorco Inc. has been contacted regarding this request and does not

object. The proposed Reply Brief is attached hereto. A proposed order granting the

motion is also lodged herewith in accordance with Local Rule 9013-1(i).

      DATED this 16th day of February, 2023.

                                      LAIRD COWLEY, PLLC


                                      By:   /s/ Tyler C. Smith
                                            Tyler C. Smith
                                            Attorneys for Ruis Glacier, LLC




DEFENDANTS MO SOMERS LLC AND RUIS GLACIER, LLC’S UNOPPOSED MOTION          PAGE 2.
FOR LEAVE TO FILE REPLY BRIEF

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